Angelo L. Rosa (Idaho State Bar No. 7546)
ROSA PLLC
950 West Bannock Street, Suite 1100
Boise, Idaho 83702
Telephone:    +1 (208) 900-6525
Fax:          +1 (208) 515-2203
E-mail:       arosa@rosacommerce.com

Attorneys for Respondent/Counter-Petitioner
SOUTHERN IDAHO AMBULATORY SURGERY CENTER, LLC


                           UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


  TWIN FALLS NSC, LLC, a Tennessee          Case No. 1:19-cv-00009-DCN
  limited liability company,

         Petitioner/Counter-Respondent,

  v.                                         NOTICE OF SERVICE OF SOUTHERN
                                               IDAHO AMBULATORY SURGERY
  SOUTHERN IDAHO AMBULATORY                   CENTER, LLC’S OBJECTIONS AND
  SURGERY CENTER, LLC, an Idaho               RESPONSES TO TWIN FALLS NSC’S
  limited liability company,                 SECOND SET OF INTERROGATORIES
                                              AND REQUESTS FOR PRODUCTION
         Respondent/Counter-Petitioner.




NOTICE OF SERVICE OF SOUTHERN IDAHO AMBULATORY SURGERY CENTER,
LLC’S OBJECTIONS AND RESPONSES TO TWIN FALLS NSC’S SECOND SET OF
INTERROGATORIES AND REQUESTS FOR PRODUCTION – Page 1
       NOTICE IS HEREBY GIVEN THAT:

       1.     On 27 July 2020, Respondent/Counter-Petitioner, SOUTHERN IDAHO

AMBULATORY SURGERY CENTER, LLC (“SIASC”) served its Objections and Responses to

Petitioner/Counter-Respondent, TWIN FALLS NSC, LLC’s (“Twin Falls NSC”) Second Set of

Interrogatories and Requests for Production of Documents; and

       2.     On 6 August 2020, SIASC served its Responses to Twin Falls NSC’s Second Set

of Requests for Production of Documents in the form of document production, bearing Bates Nos.

SIASC_POSTJDGMNT_001111-001879, by the method(s) and addressed as indicated below:



 W. Brantley Phillips, Jr.                              U.S. First Class Mail, Postage Prepaid
 Russell S. Baldwin                                     Hand-Delivered
 Allison W. Acker                                       Overnight Delivery
 BASS BERRY & SIMS PLC                                  Facsimile
 150 Third Avenue South, Ste. 2800                      e-Mail / Electronic Upload
 Nashville, TN 37201                                    Electronic Court Filing/Service
 bphillips@bassberry.com
 rbaldwin@bassberry.com
 allison.acker@bassberry.com


       Executed on 6 August 2020 at Phoenix, Arizona:



                                                  /s/ Angelo L. Rosa
                                                  Angelo L. Rosa




NOTICE OF SERVICE OF SOUTHERN IDAHO AMBULATORY SURGERY CENTER,
LLC’S OBJECTIONS AND RESPONSES TO TWIN FALLS NSC’S SECOND SET OF
INTERROGATORIES AND REQUESTS FOR PRODUCTION – Page 2
                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on 6 August 2020 I submitted the foregoing to the Clerk
of the Court for service on CM/ECF Registered Participants as reflected on the Notice of
Electronic Filing, including, but not limited to, the following:

      Scott D. Hess              sdhess@hollandandhart.com

      Brant Phillips             BPhillips@bassberry.com



                                               /s/ Angelo L. Rosa
                                              Angelo L. Rosa




NOTICE OF SERVICE OF SOUTHERN IDAHO AMBULATORY SURGERY CENTER,
LLC’S OBJECTIONS AND RESPONSES TO TWIN FALLS NSC’S SECOND SET OF
INTERROGATORIES AND REQUESTS FOR PRODUCTION – Page 3
